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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 23-CR-20271-BLOOM

 UNITED STATES OF AMERICA,

 v.

 BRETT BLACKMAN,
 GARY COX, and
 GREGORY SCHRECK,

                       Defendants.
                                       /

      UNITED STATES’ UNOPPOSED MOTION TO EXCUSE THE PARTIES FROM
                     FILING SPEEDY TRIAL ACT REPORTS

        COMES NOW the United States of America, by and through undersigned counsel, and

 files this Motion to Excuse the Parties from Filing Speedy Trial Act Reports.

        The government filed its first Speedy Trial Report on August 29, 2023, as required by

 Local Rule 88.5 and the Court’s Scheduling Order [ECF No. 25]. The government filed its second

 Speedy Trial Report on September 20, 2023. [ECF No. 38].

        On August 21, 2023, the parties filed a Joint Motion to Continue Trial Date [ECF No. 32].

 The Court granted the parties’ request and ordered that the period of delay from August 21, 2023,

 to August 12, 2024 (the date trial commences) was excludable under Title 18, United States Code,

 Section 3161(h)(7). [ECF No. 34].




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        Consequently, the government requests that the Court excuse the parties from filing Speedy

 Trial Act reports until at least August 12, 2024.


                                               Respectfully submitted,

                                               MARKENZY LAPOINTE
                                               UNITED STATES ATTORNEY

                                               GLENN S. LEON, CHIEF
                                               U.S. DEPARTMENT OF JUSTICE
                                               CRIMINAL DIVISION, FRAUD SECTION

                                       By:     /s/ Shane Butland
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 20, 2023, I electronically filed the foregoing

 document onto the Court’s CM/ECF system.

                                            /s/ Shane Butland
                                            Shane Butland
                                            Trial Attorney
                                            U.S. Department of Justice
